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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  (HOUSTON DIVISION)

 KAREN TAYLOR,                                   §
                               Plaintiff,        §
                                                 §
 v.                                              §        CASE NO.: ______________________
                                                 §
 TASER INTERNATIONAL, INC.,                      §
                      Defendant.                 §                   JURY TRIAL DEMANDED


                           PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Karen Taylor, a former Houston Police Department officer, files this suit

complaining of and against Defendant Taser International, Inc. and for cause of action would show

the Court and Jury the following:

                                        Nature of the Case

       1.      This is a personal injury/DTPA case arising out of serious, life-altering injuries to

Houston police officer Karen Taylor that happened because her “protective” Taser gun, which is

supposed to empower officers to protect themselves and others without using lethal force against

an assailant, failed. The truly irksome thing is that, even though the City of Houston is paying

Taser millions and millions of dollars for this equipment, the number of times that Taser guns have

failed officers in Houston, LA, and other cities, is staggering. Plaintiff sues under all cognizable

theories of recovery, including the DTPA, which makes Taser’s “deceptive acts and practices” and

“unconscionable” conduct actionable.

                                              Parties

       2.      Plaintiff, Karen Taylor (“Plaintiff” or “Taylor”), an individual, is now a resident of

Wylie, Collin County, Texas. At the time of the incident giving rise to this lawsuit, she was serving

the citizens of Houston, Texas, as a police officer.
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       3.      Defendant Taser International, Inc. (“Taser International”) is a foreign corporation

organized and existing under the laws of the State of Arizona, whose principal office is located at

17800 N. 85th Street, Scottsdale, Maricopa County, Arizona 85255. Taser is authorized to do

business in Texas and, in fact, has a multi-year, multi-million-dollar contract to provide Tasers and

other products and services to the Houston Police Department (“HPD”). If necessary, it may be

served with process by serving its president, Luke Larson, at that address.

                                     Jurisdiction and Venue

       4.      This Court has diversity jurisdiction pursuant to 28 U.S.C. §1332. Venue is

appropriate in this District under 28 U.S.C. §1391.

                                               Facts

       5.      Taylor’s life dream was to become a police officer and in 2008 that dream came

true when she graduated from the Houston Police Academy. For the next eight years, Taylor

dedicated her life to HPD and received more than 15 commendations along the way. She always

looked forward to her patrol shift and was proud of her work.

       6.      One of the dilemmas that face police officers, particularly in America’s urban areas,

is how to apprehend suspects of crime in a way that protects the public, that safeguards the officers

themselves and, to the maximum extent possible, that avoids the use of lethal force. Needless to

say, having safety equipment that does not make the officer “safe” compounds that dilemma.

                                       Trust and Betrayal

       7.      Taser has capitalized on that issue by designing, manufacturing and marketing a

type of “stun gun” commonly called the “Taser.” Its website and other marketing materials tout

the Taser as “the most trusted solution” that has been “proven to protect sworn heroes.”

       8.      The current “state of the art” model is the Taser X2, touted by Taser on its website

as an instrument that “incorporates agencies’ most requested features such as a backup shot and

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a warning arc to ensure accuracy and effectiveness.” It explains further that the “backup shot

removes any need to manually reload and improves safety and performance in the case of a missed

shot or clothing disconnect.” See www.taser.com. Taser further claims that, with the introduction

of this model, “the days of the single shot electrical weapon will soon be a thing of the past” and

that “the future of less-lethal technology has arrived in the form of the Taser X2.” Id. As we shall

see, police officers have a particularly acute need for an adequate “backup shot.”

        9.      On or about September 4, 2013, Taser entered into a contract with the City of

Houston to provide Taser guns and associated training and support, ostensibly to protect Houston’s

finest “sworn heroes,” including, of necessity, Taylor.          Although the original contract was

supposed to be for $5 million over five years, in fact, to date, Taser has already been paid more

than $7 million and still has two years remaining on the contract.

        10.     As a member of the Houston police force, Taylor was issued a Taser X2 (also

known as a Taser International X2900), serial number X29001CP2, manufactured by Defendant

Taser International. She was trained how to use the weapon that is designed and manufactured to

temporarily subdue suspects by generating a strong electric charge. Taylor properly maintained

and tested her Taser as she was trained to do.

        11.     What neither Taser, nor the Houston Police Department told Officer Taylor was

that there have been a very high number of failures of Taser guns being used by Houston Police

Officers. Indeed, a public information request filed with HPD revealed that since 2011, on more

than 450 occasions, Tasers issued to Houston police officers have failed to discharge properly,

meaning they missed the target, failed to penetrate, failed to subdue, or failed to produce the proper

charge when deployed against suspects. The complete list is attached hereto as Exhibit A. There

is no other way to say it: this is a betrayal of the public trust.




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       12.     Houston is not the only major metropolitan city whose police officers have been let

down by their Taser guns. Exhibit B hereto is an April 1, 2016, news report from the Tribune

News Service about an incident in Los Angeles in which a person was fatally shot by a police

officer because his Taser gun failed to subdue the suspect. As it states, “White’s killing last year

illustrates a troubling weakness with a weapon meant to play a key role in the LAPD’s efforts to

reduce the number of police shootings: Tasers often don’t work.” According to this report, during

the last year in Los Angeles, at least eight of 36 people wounded or killed in encounters with the

police were shot because the officers’ Taser guns failed them. The report further chronicles that

the Taser devices had the desired outcome only 53% of the time. When confronted with these

astounding failure figures, Taser’s official response by spokesman Steve Tuttle was that they were

simply “disingenuous.”

       13.     On information and belief, other major metropolitan police departments have

experienced similar rates of failure.

       14.     The Court and Jury will easily see the dilemma that this poses for police officers.

It is somewhat like having a bullet-proof vest that simply does not stop bullets. What is an officer

to do? If he/she uses lethal force against someone who is involved in a relatively minor crime,

then they are excoriated, suspended, investigated, sued, etc. But, if their safety equipment fails

them, what are they to do? The excessive rate of failure of Taser guns in the City of Houston has

put our police officers, the public, and even the arrestees, at greater risk of harm.

                                        Tragedy in Houston

       15.     October 8, 2015 was like most any other day for Taylor. She was on patrol duty in

North Houston when a call came through after noon that a woman was causing a disturbance at a

convenience store by drinking beverages and not paying for them. When Officer Taylor arrived

at the store located at 857 W. Tidwell, she encountered Florence Walker, the suspect.

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       16.     When Officer Taylor arrived at the convenience store, Walker was pacing outside

and appeared to be extremely agitated. Taylor approached Walker and asked her to come over to

her patrol car. Walker originally acted as if she would cooperate but then she became agitated,

started swearing at Officer Taylor, and pushing back. When Officer Taylor tried to detain Walker,

she ran away. Taylor caught the suspect and attempted to put her on the ground but the suspect

fought back and continued to fight back. Walker was grabbing Taylor and throwing punches.

Taylor hit back and wanted to deploy her Taser but they were fighting so close together, she could

not do so. She then hit Walker hard enough to back her up and was able to deploy her Taser. She

fired and it briefly subdued Walker and she fell to the ground.

       17.     One of the things that is well known to Taser and, indeed, incorporated into the

design of its stun guns, is that sometimes multiple firings are necessary to subdue an assailant.

Taser markets its products as being particularly safe because they are designed to enable the

officers to fire another shot. But, in this instance, the backup shot did not work.

       18.     After the initial stun charge was delivered, suspect Walker got back up and started

coming at Taylor again. HPD test records indicate that when Walker started attacking Taylor

again, Taylor responded by repeatedly firing her Taser at the suspect, more than six times.

However, the Taser failed to deliver any charge whatsoever and the suspect was not subdued.

       19.     Instead, Walker continued to fight with Taylor, badly injuring the officer including,

but not limited to, serious injuries to Taylor’s hand and back. The fighting did not cease until

Walker got off of Taylor and ran into the convenience store. Then back-up police officers arrived

and were able to take control of the situation.

       20.     Officer Taylor returned to the police station and, as required, tried to file a report.

However, in extreme pain, she could barely think straight and just wanted to go home where she

could lie down. Taylor drove herself home, more than an hour from the police station, and when

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she exited her vehicle, she immediately collapsed on the ground outside her house. She was then

driven to the hospital emergency room. She has not worked a day on patrol since the violent attack.

       21.     Indeed, she was initially cleared to return to light desk duty in the fall of 2016 but

then was told she would soon be “medically separated” from the department. If that occurred,

Taylor would never have been able to work as a police officer ever again and would have only

received a very small pension. Therefore, she was left with no choice but to resign from the police

department. As she wrote in her letter of resignation, “Unfortunately, I am out of time, I am out

of money, and I am out of hope. It is with great sorrow that I must tender my resignation from the

Houston Police Department, effective Friday, November 18, 2016.”

                                          Causes of Action

       22.     FIRST: DTPA. The Texas Deceptive Trade Practices - Consumer Protection Act,

§17.41, et. seq., TEX. BUS. & COMM. CODE, brands certain conduct as “unlawful” and provides

substantial legal remedies for consumers against such unlawful “false, misleading and deceptive

business practices” and “unconscionable actions.”         §17.44, §17.46, §17.50.      Taylor was a

“consumer” as defined by the Act. §17.45(4) and Defendant Taser’s violations of the DTPA, and

its breach of legal warranties, were the producing cause of her injuries and damages.

       23.     Taser’s Unlawful Deceptive Trade Practices. Taser has represented that its stun

gun products have “characteristics, uses, or benefits” which they simply do not, in violation of

§17.46(b)(5). It also portrays the Taser guns as having a “standard, quality or grade” that they do

not. This violates §17.46(b)(7). On information and belief, it is further alleged that Taser failed

to disclose material information about the failure or misfire rates of its stun guns to representatives

of the City of Houston, in violation of §17.46(b) (24).

       24.     Taser’s Unconscionable Conduct. The DTPA provides that an “unconscionable

action or course of action” means an act or practice that “takes advantage of the lack of knowledge,

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ability, experience, or capacity of the consumer to a grossly unfair degree.” §17.45(5). Clearly

Taser’s actions in promoting the Taser stun gun as a “trustworthy” means to protect America’s

“sworn heroes,” like Taylor, fall within this statutory definition.

       25.     On information and belief, it is alleged that Taser’s statutory delicts were

committed “knowingly” and/or “intentionally” as defined by §17.45(9, 13), so as to give rise to

actual and enhanced damages pursuant to §17.50(b and h).

       26.     Prior to the filing of this suit, Plaintiff provided Defendant Taser with the presuit

notice required by §17.505, and offered to permit representatives of Taser to “inspect” (but not

test) Officer Taylor’s Taser device.

       27.     SECOND. STRICT TORT LIABILITY. Taser is strictly liable under the tort

theories adopted by the Texas Supreme Court pursuant to Sections 402A and 402B of the

Restatement (Second) of Torts, and partially codified in Chapter 82, TEX. CIV. PRAC. & REM CODE.

The Taser X2 at issue in this case was unreasonably dangerous or “defective” within the meaning

of the products liability jurisprudence of this State, and Taser engaged in material

misrepresentations including, inter alia, the misrepresentation that this stun gun was a

“trustworthy” means to protect America’s “sworn heroes”. The defects and misrepresentations

were a producing cause of injuries to Taylor and, consequently, Taser is strictly liable for her

injuries and damages.

       28.     THIRD: NEGLIGENCE. Taser has not acted as a “reasonably prudent person”

would do under the “same or similar circumstances,” and, thus, is guilty of common law negligence

which was a proximate cause of Taylor’s injuries and damages. Indeed, to the contrary, Taser

International failed to exercise ordinary and reasonable care in designing, manufacturing, testing,

marketing, labeling, packaging, selling, recalling and/or distributing the Taser X2 and negligently

failed to provide adequate warnings and instructions to Officer Taylor or distributors, retailers, and

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sellers regarding the Taser X2. This conduct constitutes negligence. As a direct and proximate

result of this negligence, Officer Taylor has suffered serious bodily injury, mental and physical

pain and suffering, and has incurred great economic loss.

       29.     FOURTH: BREACH OF WARRANTY. Taser’s marketing representations of

“trustworthiness” create express warranties under the law. Also, there is a common law and

statutory implied warranty of merchantability and of suitability for the “particular purpose” of

protecting police officers from harm such as that inflicted by the assailant in this case. Taser’s

breach of warranties was a proximate cause of Officer Taylor’s injuries and damages.

                                              Damages

       30.     As a result of the incident made the basis of this lawsuit described in the preceding

paragraphs and Taser International’s negligence, Officer Taylor sustained significant injuries and

damages in the past and will in reasonable probability sustain these damages in the future. Her

doctors have recommended back surgery and, obviously, she is extremely devastated about her

inability to continue her career as a police officer.

       31.     Officer Taylor respectfully requests that the trier of fact determine the amount of

her damages and losses she has incurred in the past and will reasonably incur in the future, as well

as the monetary value of these damages which include, but are not limited to the following

elements:

               a.      Physical pain and mental anguish;
               b.      Lost wages;
               c.      Loss of earning capacity;
               d.      Physical impairment;
               e.      Medical care expenses; and
               f.      Other out-of-pocket economic losses.

       32.     The conduct, actions, and omissions of Taser International described in the

preceding paragraphs constitute violations of the Texas DTPA and Texas case law and were a



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producing/proximate cause of economic and mental anguish damages to Officer Taylor. Officer

Taylor therefore seeks recovery for the economic damages she has suffered. Further, because

DTPA violations were knowingly or intentionally committed, Officer Taylor seeks enhanced

statutory damages. Officer Taylor also seeks recovery of all remedies available under the Texas

DTPA including reasonable attorney’s fees and costs associated with the prosecution of the claims

under the Texas DTPA as allowed by law.

       33.     Officer Taylor seeks both prejudgment and post-judgment interest as allowed by

law, for all costs of court, and demands judgment for all other relief, both in law and in equity, to

which Officer Taylor may be entitled.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Karen Taylor prays that Defendant

Taser International, Inc. be cited to appear and answer and that upon final trial and hearing hereof,

that Plaintiff recover damages in accordance with the evidence, that Plaintiff recover costs of court

herein expended, that Plaintiff recover interest to which Plaintiff is justly entitled under the law,

and for such other and further relief, both general and special, both in law and in equity, to which

Plaintiff may be justly entitled.

                                                      Respectfully submitted,

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